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Subjc.t:     Neu'Clrenrltleerrne



WearemeehngwithPhil Hassell andhisdad,"Mr.Hassell"onMonday,January23'dat10:30am. Fae-Pleasereserve2l0l0
for a couple hours. This is a business dispute with a related family owned enhty owned by Royce Hassell

Hassell Construction Co, Inc.-GC ( our potental client)

Potential adverse parties:

R Hassell Builders
R Hassell   Company
Royce and Sylvia Hassell




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Silvia T. Hassell
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Houston, Texas 77066
Telephone 713-665-2442
Telecopier: 713-665-0369
sehassell@aol.com




May 22, 2018


Chris Daniel, District Clerk
Harris County, Texas
201 Caroline, Suite 420
Houston, Texas 77002
(Via e-file).

Re: Cause No. 2016-87708; Hassell Construction Co., Inc., et al v. Royce Hassell, et al; In the
113th Judicial District Court of Harris County, Texas.


Dear Mr. Daniel:

        Please find e-filed herewith Exhibit 34 to “Royce Hassell’s Anti-Slapp Motion to
Dismiss.” It appears Exhibit 33 was uploaded twice into the system and Exhibit 34 was
inadvertently omitted. If you have any questions or there is anything further I need to do,
please let me know.

        Thank you for your assistance and cooperation.



                                                        Very truly yours,

                                                        /s/ Silvia T. Hassell
                                                        Silvia T. Hassell
